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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                    www.flsb.uscourts.gov
In re:
 PACIFICO SUR GROUP, LLC,                             Case No. 19-22057-RAM
                                                      Chapter 7
        Debtors.                                      Jointly Administered
 _________________________/

                                  CERTIFICATE OF SERVICE

          I CERTIFY that a true and correct copy of the Notice of Hearing (by Telephone) [D.E. 193]
of the Chapter 7 Trustee’s Motion for Turnover of Debtors’ Funds at PNC Bank, N.A. [DE. 192]
was served by U.S. First Class Mail or Email, on May 26, 2020, upon the following:


 PACIFICO SUR GROUP, LLC            CHILEAN FISHERIES GROUP,
                                                                            Justin J. Kontul, Esq.
    20900 NE 30th Avenue                        LLC
                                                                              Amy Kerlin, Esq.
        Suite 200-32                   20900 NE 30th Avenue
                                                                              Reed Smith LLP
     Aventura, FL 33180                     Suite 200-32
                                                                             225 Fifth Avenue
                                         Aventura, FL 33180
                                                                        Pittsburgh, PA 15222-2716
                                                                         Attorneys for PNC Bank
                                             Kash Capital            Advantage Platform Services Inc.
            Flex Funding
                                          475 Northern Blvd.         d/b/a Advantage Capital Funding
         25 E. 86 St., Apt. 9F
                                             Flr 3, Suite 36                  104 E. 25 St.
         New York, NY 10028
                                         Great Neck, NY 11021              New York, NY 10010

   Green Capital Funding LLC
    116 Nassau St., Suite 804
     New York, NY 20038




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       I CERTIFY that a true and correct copy of the foregoing was served via Notice of
Electronic Filing (CM/ECF) on this 26th day of May, 2020, upon all registered users in this case.
                                            DUNN LAW, P.A.
                                            Counsel for Marcia T. Dunn, Interim Trustee
                                            66 West Flagler Street, Suite 400
                                            Miami, Florida 33130
                                            Tel: 786-433-3866 | Fax: 786-260-0269
                                            Barry.Turner@dunnlawpa.com
                                            Michael.Dunn@dunnlawpa.com

                                            By:     /s/ Barry S. Turner
                                                    Barry S. Turner, Esq.
                                                    Florida Bar No. 85535




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